           Case 1:15-vv-00631-UNJ Document 30 Filed 07/22/16 Page 1 of 2




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-631V
                                      Filed: June 9, 2016
                                        UNPUBLISHED

****************************
DANIEL NEIMAN and ALLYSON F.,           *
NEIMAN, as parents and legal            *
Representatives of their minor son      *
N.K.N.                                  *
                                        *
                    Petitioner,         *      Ruling on Entitlement; Concession;
v.                                      *      Rotavirus;
                                        *      Intussusception; Cause-in-Fact;
SECRETARY OF HEALTH                     *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                     *
                                        *
                    Respondent.         *
                                        *
****************************
Elizabeth Martin Muldowney, Rawls, McNelis and Mitchell, P.C., Richmond, VA, for
petitioner.
Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

       On June 19, 2015, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleges that following administration of a number of vaccinations,
including rotavirus vaccine, N.K.N. developed severe intussusception requiring surgical
intervention. Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

       On June 8, 2016, respondent filed her Rule 4(c) report in which she concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:15-vv-00631-UNJ Document 30 Filed 07/22/16 Page 2 of 2



at 1. Specifically, respondent concluded that the facts of the case “support a finding
that N.K.N.’s intussusception, more likely than not, was caused in fact by the
administration of the rotavirus vaccine.” 3 Id. at 5. Respondent further agrees that
“entitlement to compensation is appropriate under the terms of the Vaccine Act.” Id.

     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                         s/Nora Beth Dorsey
                                         Nora Beth Dorsey
                                         Chief Special Master




3 Respondent noted that “Intussusception was added to the Vaccine Table as an injury for the rotavirus

vaccine on July 23, 2015. Since the petition in this case was filed on June 19, 2015, prior to the Table
amendment taking effect, petitioners are unable to assert a Table intussusception injury claim.” Id. at 5
(citations omitted).
                                                      2
